   Case: 1:18-cv-04171 Document #: 184 Filed: 11/19/18 Page 1 of 3 PageID #:3609



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 IN RE: CHICAGO BOARD OPTIONS                            Case No. 1:18-cv-04171
 EXCHANGE VOLATILITY INDEX
 MANIPULATION ANTITRUST                                  MDL No. 2842
 LITIGATION
                                                         Honorable Manish S. Shah
 This Document Relates to All Actions


                      CBOE DEFENDANTS’ MOTION TO DISMISS

       Defendants Cboe Global Markets, Inc., Cboe Futures Exchange LLC, and Cboe Exchange,

Inc. (collectively “Cboe”), by their attorneys, respectfully move this Court for an order, pursuant

to Federal Rule of Civil Procedure 12(b)(6), dismissing all of the claims against Cboe alleged by

Plaintiffs in the Consolidated Class Action Complaint, ECF No. 140 (“Complaint”).

       As explained in Cboe’s Memorandum of Law in Support of this Motion, Plaintiffs’

Securities Exchange Act and Rule 10b-5 claims must be dismissed for failure to state a claim

because Plaintiffs’ claims are barred by absolute immunity, are precluded by the Exchange Act,

because Plaintiffs have failed to adequately plead the elements of a Rule 10b-5 claim, and because

Plaintiffs have not shown Article III standing.

       Plaintiffs’ Commodities Exchange Act (“CEA”) claims also must be dismissed because

Plaintiffs have failed to adequately plead the elements of a claim. In particular, without limitation,

Plaintiffs have failed to plead a specific instance in which an SRO failed to enforce a rule; failed

to plead an ulterior bad-faith motive; and failed to plead causation of actual injury to a person

resulting from that person’s transaction on the exchange. To the extent Plaintiffs attempt to plead

an aiding-and-abetting claim against Cboe, no private right of action is available against Cboe
   Case: 1:18-cv-04171 Document #: 184 Filed: 11/19/18 Page 2 of 3 PageID #:3610



Futures Exchange, and Plaintiffs do not otherwise state a claim because, among other things, they

fail to plead that any Cboe defendant actually intended or desired to further any manipulation.

       Plaintiffs’ state-law negligence claim must be dismissed because that claim is preempted,

barred by absolute immunity, and because Plaintiffs have not alleged the necessary elements of

such a claim.

       Finally, all of Plaintiffs claims against Cboe must be dismissed for failure to state a claim

because Plaintiffs have not adequately alleged with particularity the alleged underlying

manipulation by third parties.

       WHEREFORE, for the reasons set forth herein and in Cboe’s Memorandum of Law in

Support of Cboe Defendants’ Motion to Dismiss filed herewith, Cboe respectfully requests that

this Court dismiss all of Plaintiffs’ claims against Cboe and grant Cboe any additional and further

relief as the Court deems appropriate.


Dated: November 19, 2018                         Respectfully submitted,

                                                 /s/ Reid J. Schar

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                                                2
   Case: 1:18-cv-04171 Document #: 184 Filed: 11/19/18 Page 3 of 3 PageID #:3611



                               CERTIFICATE OF SERVICE

       I, Reid J. Schar, hereby certify that on November 19, 2018, I electronically filed the

forgoing Cboe Defendants’ Motion to Dismiss using the CM/ECF system, and have verified

that such filing was sent electronically using the CM/ECF system to all parties who have appeared

with an email address of Record.


                                                /s/ Reid J. Schar

                                                Counsel for Cboe Global Markets, Inc.,
                                                Cboe Futures Exchange LLC, and Cboe
                                                Exchange, Inc.
